          Case 1:07-cr-00209-TSE Document 10 Filed 06/08/07 Page 1 of 3 PageID# 126
        fRev. 6/97J Order Setting Conditions of Release                                                                          Page 1 of V_ •           Pages



                                                                                                                     I           L
                                   United States District Cou
                                                                                                                                                      i




                                                                                                                                   8m

                                               Eastern            District of              Virginia
                                                                                                            CLERK, U.S. DISTRICT COURT
                                                                                                                  AI CVftMnni a      > ;tr> /—**■■«
                                                                                                                                                      j
                United States of America                               ORDER SETTING CONDITIONS
                                                                                           OF RELEASE
                              V.

                                                                   CaseNumber:        \ \
                         Defendant



IT IS ORDERED that the release of the defendant is subject to the following conditions:

        (1)   The defendant shall not commit any offense in violation of federal, state or local law while on release in this case.

        (2)   The defendant shall immediately advise the court, defense counsel and the U.S. attorney in writing before any change in
              address and telephone number.

        (3)   The defendant shall appear at all proceedings as required and shall surrender for service of any sentence imposed as

              directed. The defendant shall appear at (if blank, to be notified)                       United States District Court
                                                                                                                         Place

                 401 Courthouse Sn.. Alexandria. VA           ™      QfrO&1*-b>Or "7. ->06~1 -fo/"
                                                                                                  Date and Time




                                       Release on Personal Recognizance or Unsecured Bond

 IT IS FURTHER ORDERED that the defendant be released provided that:


 ( S ) (4) The defendant promises to appear at all proceedings as required and to surrender for service of any sentence imposed

 ( I/) (5) The defendant executes an unsecured bond binding the defendant to pay the United States the sum of


              in the event of a failure to appear as required or to surrender as directed for service of any sentence imposed.




                 DISTRIBUTION:        COURT       DEFENDANT   PRETRIAL          SERVICES        U.S. ATTORNEY       U.S. MARSHAL
         Case 1:07-cr-00209-TSE Document 10 Filed 06/08/07 Page 2 of 3 PageID# 127



                                            Additional Conditions of Release
   Upon finding that release by one of the above methods will not by itself reasonably assure the appearance
of the defendant and the safety of other persons.and the community, it is FURTHER ORDERED that the
release of the defendant is subject to the conditions marked below:

(        ) (6) The defendant is placed in the custody of:
               (Name of person or organization)
               (Address)
               (City and State)                                                           fTd.No.l___~~~
who agrees (a) to supervise the defendant in accordance with all conditions of release, (b) to use every effort
to assure the appearance of the defendant at all scheduled court proceedings, and ( c) to notify the court
immediately in the event the defendant violates any conditions of release or disappears.

                                                          Signed:,
    ,,                                                               Custodian of Proxy
(|/ ) (7 ) The defendant shall:
          (   ) (a) maintain or actively seek employment.
          (   ) (b) maintain or commence an educational program.
          (\/) (c) abide by the following restriction on his personal associations, place of abode, or travel:


          ( ) (d) avoid all contact with the following named persons, who are considered either alleged victims
                      or potential witnesses:                                                                         jC/Jf€X^


          ( V) (e) report on a regular basis to the following agency: [Jftft~) lU_~ kAAhu^-                           ^^Mrf-
          (   ) (f) comply with the following curfew:                                                                      fr    /^

          ( y fe) refrain from possessing a firearm, destructive device, or other dangerous weapons.- Lduaju. fr
          (K) (h) refram from excessive use of alcohol, and any use or unlawful possession of a narcotic drug or ^
          , x m co'!troIled substance defined in 21 U.S.C. 802 unless prescribed by a licensed medical person
          (   ) (I) undergo medical or psychiatric treatment and/or remain in an institution, as follows:

          ( ) 0) execute a bond or an agreement to forfeit upon failing to appear as required, the following sum
                      of money or designated property:

          ( ) (k) post with the court the following indicia of ownership of the above-described property or the
                      following amount or percentage of the above-described money:

          ( ) (1) execute a bail bond with solvent sureties in the amount of $
          ( ) (m) return to custody each (week) day as of                o'clock after being release each (week) day as
            / ot            o cl°ck for employment, schooling, or the following limited purpose(s)-
         ( /) (n) surrender any passport or other travel documents to: flj>u/lf*!/~. (Ylr Tlmn+-
         ( ) (o) obtain no passport or travel documents.                  ™*^ -/           —
         ( V) (p) -undergo substance abuse testing and/or treatment as directed at the direction of Pretrial
                      Services                           ' & UjdLiVeA
         ( ) (q) the defendant shall not operate a motor vehicle without a valid license.
         ( ) (r) the defendant is placed on home detention with electronic monitoring as directed.
         V    / (S)
                Case 1:07-cr-00209-TSE Document 10 Filed 06/08/07 Page 3 of 3 PageID# 128
         199C (Rev. 6/97) Advice of Penalties ...

                                                      Advice of Penalties and Sanctions

TO THE DEFENDANT:


YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

    A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of release, an order of detention, and a prosecution for contempt of court and could result in a term of imprisonment, a fine,
or both.
    The commission of a Federal offense while on pretrial release will result in an additional sentence of a term of imprisonment of
not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one year, if the offense is a misdemeanor.
This sentence shall be in addition to any other sentence.
     Federal law makes it a crime punishable by up to 10 years of imprisonment, and a $250,000 fine or both to obstruct a criminal
investigation. It is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to tamper with a witness, victim
or informant; to retaliate or attempt to retaliate against a witness, victim or informant; or to intimidate or attempt to intimidate a witness,
victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are significantly more serious if
they involve a killing or attempted killing.
    If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
    (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you shall be fined
         not more than $250,000 or imprisoned for not more than 10 years, or both;
    (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall be fined not
         more than $250,000 or imprisoned for not more than five years, or both;
    (3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;
    (4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.
    A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any other offense. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                       Acknowledgment of Defendant

     I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions
of release, to appear as directed, and to surrender for service of any sentence imposed. I am aware of the penalties and sanctions set forth
above.




                                                                                                         Address



                                                                                    City and State       /Telephone




                                                     Directions to United States Marshal

(V) The defendant is ORDERED released after processing.
(   ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judicial officer that the
      defendant has posted bond and/or complied with all other conditions for release. The defendaflt^yri^be produced before the
         appropriate judicial offiaer at the time and place specified, if still in custody.                        "*~
      Date:                      l/g/fr7

                                                                                         Name and Title of Judicial Officer

                       DISTRIBUTION:       COURT    DEFENDANT    PRETRIAL SERVICE       U.S. ATTORNEY      U.S. MARSHAL
